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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON


 DAREX, LLC,                                         Case No.: 1:20-cv-2239-MC

                               Plaintiff,

 v.                                                  PERMANENT INJUNCTION

 67 HARDWARE, INC.

                        Defendant.
_____________________________________


         THIS MATTER COMES before the Court on a Proposed Permanent Injunction submitted

by Plaintiff Darex, LLC (“Darex” or “Plaintiff”) pursuant to this Court’s Order Granting Plaintiff’s

Motion for Default Judgment. ECF No. 21. Having reviewed the Proposed Permanent Injunction

submitted by Plaintiff and being otherwise duly and fully advised in the premises thereof, the Court

hereby ORDERS and ADJUDGES as follows:

                   FINDINGS OF FACT AND CONCLUSIONS OF LAW

         1.    Plaintiff Darex, LLC is a limited liability company organized and existing under

the laws of the State of Oregon with a principal place of business at 210 E Hersey St, Ashland, OR

97520.

         2.    67 Hardware Inc. (“67 Hardware”) is a corporation organized and existing under

the laws of the State of North Carolina with a principal place of business at 1824 NC Highway 67,

Jonesville, NC 28642, and doing business on eBay at “goodplace2shop.”

         3.    The Court has subject matter jurisdiction over the dispute that is the subject of this

Permanent Injunction.

         4.    The Court has personal jurisdiction over the Defendant 67 Hardware.

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       5.     Venue is proper in this Court.

       6.     Darex is the owner of the DRILL DOCTOR trademarks with United States

Trademark Registration Nos. 2,083,587 (the “’587 Trademark”) and 6,077,987 (the “’987

Trademark”) and the WORK SHARP trademarks with United States Trademark Registration Nos.

3,407,215 (the “’215 Trademark”); 4,026,814 (the “’814 Trademark”); and 6,077,986 (the “’986

Trademark”) (collectively, the “Darex Trademarks”).

       7.     67 Hardware has used the WORK SHARP Trademarks in a way that is confusing

and misleading to customers.




       8.     67 Hardware has used the DRILL DOCTOR Trademarks in a way that is confusing

and misleading to customers.




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       9.     Darex obtained U.S. copyright registration (Registration Number: VA 2-223-777

(“’777 Copyright”) for the product image shown below. Darex is the owner of the ’777 Copyright.




       10.    Darex obtained U.S. copyright registration (Registration Number: VA 2-217-313

(“’313 Copyright”) for the product image shown below. Darex is the owner of the ’313 Copyright.




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      11.    Darex obtained U.S. copyright registration (Registration Number: VA 2-223-798

(“’798 Copyright”) for the product images shown below. Darex is the owner of the ’798

Copyright.




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       12.    Defendant made and used unauthorized reproductions of Darex’s original works,

which are the subject of the ’777 Copyright, the ’313 Copyright, and the ’798 Copyright

(collectively, the “Darex Copyrights”) as shown below:




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                          FINDINGS ON PERMANENT INJUNCTION

       13.    Darex has prevailed on the merits of its claims for trademark infringement and

copyright infringement.

       14.    Darex has suffered and will continue to suffer irreparable harm by reason of the

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Defendant’s continued infringement of the Darex Trademarks and Darex Copyrights.

       15.     The balance of hardships and public policy favor the issuance of a permanent

injunction in favor of Darex. A permanent injunction will not adversely affect the public interest.

                                  PERMANENT INJUNCTION

       16.     Defendant, its officers, agents, servants, employees, and all persons acting in active

concert or participation with it who receives actual notice of this injunction by personal service or

otherwise, are hereby permanently enjoined as follows:

               a.      Defendant is enjoined from using any of the Darex Trademarks including

DRILL DOCTOR or WORK SHARP or any confusingly similar mark in connection with any

product, packaging, product listing, domain name, business name, or any other form of product

identification; and

               b.      Defendant is enjoined from producing, reproducing, distributing, copying,

or using any graphic or pictorial representation protected by any copyright owned by Darex or any

substantially similar variation thereof in connection with any product, packaging, product listing,

or any other product sale.

       17.     The Court shall maintain jurisdiction over this action for purposes of enforcement

of this Permanent Injunction.

       IT IS SO ORDERED.

       DATED this 6th day of October, 2021.



                                __/s/ Michael McShane
                                 Michael J. McShane
                                 United States District Judge




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